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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

              Plaintiff,
                                   v.           08-CR-69S(Sr)

QUENTIN LEEPER, et al,

           Defendants.
_____________________________________


                                DECISION AND ORDER

              This case was referred to the undersigned by the Hon. William M.

Skretny, in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear

and report upon dispositive motions. Dkt. #60.



                              PRELIMINARY STATEMENT

              Before the Court is defendant Quentin Leeper’s omnibus motion for

discovery. Dkt. #114. In addition to the relief sought in their own separately filed

motions, each of which will be the subject of a separate Decision and Order,

defendants Ronquike Maisonet, Major Anthony Newton and Dion D. Knight join in the

aforementioned motion filed by defendant Quentin Leeper. See Dkt. ## 125-127.

Defendant Raymond Hodnett filed a Notice to Join Motion wherein he does not seek

separate relief, rather he seeks to join in the instant motion filed by Quentin Leeper’s

attorney. Dkt. #123. Thereafter, the government filed a consolidated response to all of

the pending motions, including the above-described motions for discovery. Dkt. #132.

At the conclusion of its consolidated response, the government has made a request for
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reciprocal discovery pursuant to Rule 16(b) of the Federal Rules of Criminal Procedure.

Id. Each of the defendant’s requests and the government’s response will be separately

addressed below using the headings set forth in defendant’s motion. The following

Decision and Order will principally address defendant Quentin Leeper’s motion for

discovery but will apply with equal force to those defendants who have “joined” in the

relief sought by defendant Quentin Leeper. The Court notes that the motion filed by

defendant Quentin Leeper’s attorney also included a motion to suppress electronic

evidence obtained pursuant to an electronic eavesdropping warrant; this Court’s

Report, Recommendation and Order concerning defendant Quentin Leeper’s motion to

suppress (as well as a motion to suppress filed by defendant Newton (Dkt. #126)) was

filed on August 12, 2009. Dkt. #160. For the following reasons, defendant Leeper’s

motion for discovery is granted in part and denied in part.



                             DISCUSSION AND ANALYSIS

             Defendants Quentin J. Leeper, Ronquike E. Maisonet, Raymond A.

Hodnett, Major Anthony Newton, and Dion D. Knight are charged along with six co-

defendants in a multi-count Superceding Indictment with having violated Title 21, United

States Code, Sections 841(a)(1), 846 and 853(a) and Title 18, United States Code,

Section 2. Dkt. ## 1 (Indictment) and 66 (Superceding Indictment). As a threshold

matter, the defendant suggests that although the government has provided some

voluntary discovery to defendant, some discovery is outstanding. Dkt. #114. In its

response, the government states:



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              [t]he government contends that it had provided, pursuant to
              voluntary discovery and requests made by defendants, the
              wiretap application, affidavit, warrant, sealing order, search
              warrant and inventories and affidavits thereto, preliminary
              laboratory reports, two DVDs containing all pertinent
              conversations, and transcripts thereof, constituting all
              material presently within its possession that is within the
              purview of Rule 16 and in compliance with Rule 12(b)(4)(B)
              and believes that discovery is thereby complete.


Dkt. #132, ¶ 4 (internal footnote omitted).



“Evidence to Establish a Conspiracy”

              Defendant requests each and every statement of a co-conspirator upon

which the government intends to rely at trial to demonstrate the existence of a

conspiracy. Dkt. #114, ¶ 6. The government has declined to produce such statements

on the grounds that the production of such statements is “outside the purview of Rule

16.” See Dkt. #132, ¶ 4 and n.3. While Rule 16 of the Federal Rules of Criminal

Procedure provides for liberal discovery of the defendant’s own statements, Rule 16

does not authorize the disclosure of statements made by co-conspirators, co-

defendants or witnesses. See United States v. Percevault, 490 F.2d 126, 131 (2d Cir.

1974). Indeed, Rule 16(a)(2) states:

              Information Not Subject to Disclosure. Except as Rule
              16(a)(1) provides otherwise, this rule does not authorize the
              discovery or inspection of reports, memoranda, or other
              internal government documents made by an attorney for the
              government or other government agent in connection with
              investigating or prosecuting the case. Nor does this rule
              authorize the discovery or inspection of statements




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              made by prospective government witnesses except as
              provided in 18 U.S.C. § 3500.

Fed. R. Crim. P. 16(a)(2) (emphasis added).



              Therefore, defendant’s request for disclosure of co-conspirator statements

as evidence to establish a conspiracy is DENIED, except insofar as those statements

may otherwise be subject to disclosure pursuant to Title 18, United States Code,

Section 3500 (“Jencks Act”).



“Bill of Particulars”

              The defendant asserts that he requires the information (bill of particulars)

sought in the seventy-nine (79) separately lettered paragraphs set forth in his motion,

“in order to adequately prepare a defense and avoid surprise at trial.” Dkt. #114, ¶¶ 8a-

8aaaa. In response, the government maintains that the Indictment (and Superceding

Indictment), together with the discovery provided is more than sufficient and that the

demand for a bill of particulars is unwarranted. Moreover, the government states, “[t]he

volume of discovery provided thus far in this action provides an overall picture of each

defendant’s culpability and actions relative to the conspiracy ... “ Dkt. #132, ¶ 17.



              The defendant’s request for a bill of particulars is DENIED. It has become

axiomatic that the function of a bill of particulars is to apprise a defendant of the

essential facts of the crime for which he has been charged. United States v. Salazar,

485 F.2d 1272, 1277-78 (2d Cir. 1973); cert. denied, 415 U.S. 985 (1974); Wong Tai v.


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United States, 273 U.S. 77 (1927). The charges in the Superceding Indictment, along

with the discovery materials provided by the government, clearly inform the defendant

of the essential facts of the crimes charged. As a result, the defendant is not entitled

to, nor is he in need of, the “particulars” being sought for that purpose.

               A bill of particulars should be required only where the
               charges of the indictment are so general that they do not
               advise the defendant of the specific acts of which he is
               accused.” United States v. Feola, 651 F. Supp. 1068, 1132
               (S.D.N.Y. 1987), aff’d, 875 F.2d 857 (2d Cir.) (mem.), cert.
               denied, 493 U.S. 834, 110 S.Ct. 110, 107 L.Ed.2d 72
               (1989); see also United States v. Leonelli, 428 F. Supp. 880,
               882 (S.D.N.Y. 1977). “Whether to grant a bill of particulars
               rests within the sound discretion of the district court.” United
               States v. Panza, 750 F.2d 1141, 1148 (2d Cir. 1984) (citing
               United States v. Burgin, 621 F.2d 1352, 1358-59 (5th Cir.),
               cert. denied, 449 U.S. 1015, 101 S.Ct. 574, 66 L.Ed.2d 474
               (1980)); see also [United States v.] Bortnovsky, 820 F.2d
               [572] at 574 [(2d Cir. 1987)]. “Acquisition of evidentiary
               detail is not the function of the bill of particulars.” Hemphill
               v. United States, 392 F.2d 45, 49 (8th Cir.), cert. denied, 393
               U.S. 877, 89 S.Ct. 176, 21 L.Ed.2d 149 (1968).

United States v. Torres, 901 F.2d 205, 234 (2d Cir. 1990); see also United States v.

Chen, 378 F.3d 151, 163 (2d Cir.), cert. denied, 543 U.S. 994 (2004); United States v.

Porter, No. 06-1957, 2007 WL 4103679 (2d Cir. Nov. 19, 2007), cert. denied, 128 S.Ct.

1690 (2008).



“Identity of Informants”

               In support of his request for the disclosure of the identity of the

informants, the defendant claims that a review of the material disclosed by the

government reveals that many of the informants referenced were “participants in the



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criminality alleged in the Indictment.” Dkt. #114, ¶ 9. Moreover, the defendant

contends that “in order to prepare an adequate defense it is necessary that informant

identities be revealed so that counsel may attempt to interview them and otherwise

investigate their allegations, biases, and benefits derived from cooperating with the

government.” Id. at ¶ 10. In its response, the government declines to provide the

identity of its informants stating that the defendant has failed to assert a basis to

warrant compliance with the request. Dkt. #132, ¶ 9.



              The defendant has failed to sufficiently state a basis for requiring the

disclosure of this information or that the testimony of the informant would be of even

marginal value to the defendant’s case. As a result, the holding of the Court of Appeals

for the Second Circuit in United States v. Saa, 859 F.2d 1067 (2d Cir. 1988), cert.

denied, 489 U.S. 1089 (1989), is dispositive of this request by the defendant wherein

the Court stated:


              The leading Supreme Court case on this question, Roviaro
              v. United States, 353 U.S. 53, 77 S.Ct. 623, 1 L.Ed.2d 639
              (1957), holds that

                     [w]here the disclosure of an informant’s
                     identity, or of the contents of his
                     communication, is relevant and helpful to the
                     defense of an accused, or is essential to the
                     fair determination of a cause, the [informant’s]
                     privilege must give way.

              353 U.S. at 60-61, 77 S.Ct. at 628. The Court explained that
              “no fixed rule with respect to disclosure is justifiable.” Id. at
              62, 77 S.Ct. at 628. What is required is “balancing the
              public interest in protecting the flow of information against
              the individual’s right to prepare his defense.” Id. Whether

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        non-disclosure is erroneous “must depend on the particular
        circumstances of each case, taking into consideration the
        crime charged, the possible defenses, the possible
        significance of the informer’s testimony, and other relevant
        factors.” Id. See Rugendorf v. United States, 376 U.S. 528,
        534-35, 84 S.Ct. 825, 829, 11 L.Ed.2d 887 (1964); United
        States v. Lilla, 699 F.2d 99, 105 (2d Cir. 1983); United
        States v. Ortega, 471 F.2d 1350, 1359 (2d Cir. 1972), cert.
        denied, 411 U.S. 948, 93 S.Ct. 1924, 36 L.Ed.2d 409
        (1973).

        The defendant is generally able to establish a right to
        disclosure “where the informant is a key witness or
        participant in the crime charged, someone whose testimony
        would be significant in determining guilt or innocence.”
        United States v. Russotti, 746 F.2d 945, 950 (2d Cir. 1984);
        United States v. Roberts, 388 F.2d 646, 648-49 (2d Cir.
        1968); see United States v. Price, 783 F.2d 1132 (4th Cir.
        1986); United States v. Barnes, 486 F.2d 776 (8th Cir. 1973).
        In Roberts, the informant introduced an undercover agent to
        the defendant and was present when the defendant and the
        agent negotiated and transacted two sales of heroin. The
        Court, noting that the informant was “present during all the
        significant events,” 388 F.2d at 649, found that he was
        “obviously a crucial witness to the alleged narcotics
        transactions,” id., and therefore, his whereabouts should
        have been revealed to the defense if properly requested.
        But disclosure of the identify or address of a confidential
        informant is not required unless the informant’s testimony is
        shown to be material to the defense. See United States v.
        Valenzuela-Bernal, 458 U.S. 858, 870-81, 102 S.Ct. 3440,
        3448, 73 L.Ed.2d 1193 (1982) (dictum); United States v.
        Lilla, 699 F.2d at 105. As this Court’s recent opinion in
        United States v. Jiminez, 789 F.2d 167 (2d Cir. 1986) makes
        clear, it is not sufficient to show that the informant was a
        participant in and witness to the crime charged. In Jiminez,
        the informant was both participant and witness, but the
        district court’s refusal to order disclosure of his identity was
        upheld on the ground that the defendant had failed to show




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              that the testimony of the informant “would have been of even
              marginal value to the defendant’s case. 789 F.2d at 170.”

Id. at 1073; see also United States v. Fields, 113 F.3d 313, 324 (2d Cir.), cert. denied,

522 U.S. 976 (1997).



              Because the defendant has not made a sufficient showing that any

informant’s potential testimony is material to his defense, this request is DENIED.



“Giglio Material”

              Within his broad request labeled “Giglio Material,” defendant seeks

disclosure of eight categories (with sub-categories) of documents and information

including, inter alia, “all immunity transaction [sic] with witness [sic], prospective

witnesses, or co-defendants in this case ...” and “evidence obtained from or relating to

any government informant which is arguably exculpatory in nature ...” Dkt. #114,

¶¶ 11(a) - 11(h). Thus, the Court will treat this request as one for Giglio and Brady

material. Counsel for the government has acknowledged his affirmative duty to provide

defendant with exculpatory evidence, as well as evidence that the defendant might use

to impeach the government’s witnesses. Moreover, counsel for the government further

acknowledges its continuing duty to produce such material pursuant to Brady v.

Maryland, 373 U.S. 83 (1963). Counsel for the government does not, however, agree

that defendant’s itemized requests properly fall within the cited authority. Dkt. #132,

¶¶ 14-15. Defendant has made a separate request for the early disclosure of Jencks

Act material, that request will be addressed below.


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              “[A]s a general rule, Brady and its progeny do not require immediate

disclosure of all exculpatory and impeachment material upon request by a defendant.”

United States v. Coppa, 267 F.3d 132, 146 (2d Cir. 2001). The prosecution is obligated

to disclose and turn over Brady material to the defense “in time for its effective use.” Id.

at 144. With respect to impeachment material that does not rise to the level of being

Brady material, such as Jencks statements, the prosecution is not required to disclose

and turn over such statements until after the witness has completed his direct

testimony. See 18 U.S.C. § 3500; Fed. R. Crim. P. 26.2; In re United States, 834 F.2d

283 (2d Cir. 1987). However, if the government has adopted a policy of turning such

materials over to the defendant prior to trial, the government shall comply with that

policy; or in the alternative, produce such materials in accordance with the scheduling

order to be issued by the trial judge.



              Based on the representations made by counsel for the government as to

its obligations under Brady and Giglio, defendant’s request is DENIED, but the

government is hereby directed to comply with the Second Circuit Court of Appeals’

holding in United States v. Coppa, 267 F.3d 132 (2d Cir. 2001) and United States v.

Rodriguez, 496 F.3d 221 (2d Cir. 2007) by making timely disclosure of those materials

to the defendant.




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“Eavesdropping”

              Under the heading “Eavesdropping,” the defendant seeks the production

of four categories of documents, specifically, progress reports, minimization

instructions, “line sheets” and transcripts. Dkt. #114, ¶¶ 21-34. As noted in the

government’s response and elsewhere in this Decision and Order, the government has

previously provided to counsel for the defendant transcripts of the pertinent

conversations obtained pursuant to the electronic eavesdropping warrant. Dkt. #132,

¶ 4. In addition, in his opening remarks at the December 11, 2008 oral argument,

counsel for the government noted that just prior to the commencement of oral

argument, he had provided counsel for the defendants with copies of, inter alia,

progress minutes/reports that were provided to the judge who issued the underlying

warrant and the minimization instructions. With respect to defendant’s request for “line

sheets” (which this Court interprets to mean log notes), this request appears to be

conditioned on the fact that at the time of the filing of the instant motion, the

government had not yet provided the minimization instructions. Since that time,

however, the government has provided to counsel for the defendants the minimization

instructions. Thus, based on the representations made by counsel for the government

in its response to the instant motion and during the December 11, 2008 oral argument,

defendant’s requests are DENIED as moot.




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“Audibility Hearing”

              Defendant has requested an audibility hearing “to determine whether any

tapes that the government seeks to introduce at trial are audible.” Dkt. #114, ¶ 35. The

defendant does not, however, specifically identify any telephone conversations he

believes to be inaudible. In its response, the government notes that notwithstanding

the fact that defendant refers to the audio recordings as “tapes,” all the wiretap

conversations were recorded in digital format and provided to defendants on a DVD.

Dkt. #132, ¶ 24. Moreover, the government indicates that it would have no opposition

to the Court’s review of the recordings intended to be offered by the government. Id.

However, the government believes that all of the recordings provided to the defendant

are audible. Id. Insofar as the defendant has not specifically identified a single

recording that he believes is inaudible, defendant’s request for an audibility hearing is

DENIED without prejudice to the right to re-apply for such relief after the recordings

have been reviewed and it is determined that there is an audibility issue that needs to

be resolved by this Court.



              To the extent that the government has not already done so, the

government is hereby directed to identify those recordings that it intends to use at the

trial of the defendant and to have transcripts of those recordings prepared. Once such

transcripts have been prepared, counsel for the government shall supply copies of the

designated recordings and respective transcripts to counsel for the defendant. Counsel

for the defendant is hereby directed to review the aforesaid recordings and transcripts

after receipt of same, and upon completion of such review, make known to counsel for

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the government those portions of the aforesaid recordings that counsel for the

defendant claims are inaudible or, in the alternative, inaccurately transcribed.

Thereafter, counsel for the government and the defendant are directed to confer for the

purpose of resolving any disputes that may exist as to audibility of the recordings in

question and the correctness of the transcripts of such recordings. Should the

attorneys be unable to resolve any such disputes that may exist, counsel for the

defendant may file a motion for an audibility hearing, which motion must be filed and

served within ten days after the last conference between the attorneys seeking to

resolve such issues.



“Early Disclosure of Jencks Act Material”

              The defendant seeks to have this Court order that the government is to

provide him with “all statements and reports within [sic] meaning of the Jencks Act, 18

U.S.C.§ 3500, not less than forty-eight hours prior to the trial in this case.” Dkt. #114,

¶ 59. Title 18 U.S.C. §3500 only requires that statements of witnesses called by the

government be turned over to the defendant after the witness has completed his

testimony on direct examination. In its response, the government states, “[t]he

government agrees to provide impeachment Brady material, i.e., promises of leniency

or immunity agreements with government’s witnesses, criminal records of prosecution

witnesses, immoral, various or criminal acts committed by witnesses, and prior

inconsistent statements no later than one week prior to the commencement of trial, at

which time the government will produce the Jencks Act material.” Dkt. #132, ¶ 16.

Accordingly, it appears from the government’s response to the instant motion that the

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government has adopted a policy of turning such information over to the defendant prior

to trial, the government is hereby directed to comply with that policy, or in the

alternative, produce such information in accordance with the scheduling order to be

issued by the trial judge. Thus, insofar as the government’s policy of turning

information over “no later than one week prior to the commencement of trial” exceeds

the relief requested by the defendant, to wit, the production of Jencks Act material forty-

eight hours prior to trial, the defendant’s request is GRANTED.



“Statements”

               The defendant seeks the production of “any written, recorded, oral or

observed statement of the defendant or attributed to any defendant (and of all

uncharged co-defendants or co-conspirators) including notes, summaries or

memoranda concerning such statements.” Dkt. #114, ¶ 64. Additionally, the defendant

seeks the production of the transcripts of grand jury testimony given by any defendant

or “uncharged co-defendant or co-conspirator.” Id. at ¶ 65. Finally, defendant seeks

the production of “any hearsay evidence intended by the prosecutor to be introduced at

trial.” Id. at ¶ 66.



               In its response, the government states, “[a]ll written and recorded

statements of defendant have been provided or will be provided, as well as the

substance of any oral statements made by each defendant before and after arrest in

response to interrogation by any person known to the defendant to be a government



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agent.” Dkt. #132, ¶ 4. Based upon the government’s response that it has previously

produced or will produce statements of the defendant, that portion of defendant’s

request relating to such statements is DENIED as moot.



              With respect to the defendant’s request for statements made by

“uncharged co-defendants or co-conspirators,” the Court notes that the phrase

“uncharged co-defendant is legally incorrect insofar as a co-defendant, as that term

suggests, must, in order to be a “co-defendant,” be “charged.” For purposes of

addressing this request, the Court will treat the request as one for the production of

witness statements. The government states in its response that it will disclose written

statements of witnesses and investigative agency or police department memoranda of

interviews with witnesses consistent with the requirements set forth in Title 18, United

States Code, Section 3500. The Court notes that the government has previously

represented that Jencks Act material will be produced no later than one week prior to

the commencement of trial. Dkt. #132, ¶ 16. The Court further notes that elsewhere in

his motion for discovery, the defendant sought the production of co-conspirator

statements and as set forth above in this Decision and Order, such request is DENIED.

Accordingly, defendant’s request for the production of witness statements is DENIED,

except insofar as those statements may otherwise be subject to disclosure pursuant to

the Jencks Act or constitute Brady material. Finally, defendant’s request for the

production of the grand jury testimony of any of the defendants and uncharged co-

conspirators is similarly DENIED, except insofar as those statements may otherwise be

subject to disclosure pursuant to the Jencks Act or as Brady material.

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“Scientific”

               The defendant seeks the production of any reports concerning any

physical or mental examination or scientific test or experiment relating to this case. Dkt.

#114, ¶ 67. In addition, the defendant seeks the production of a summary of the

testimony of any proposed expert witness, the data about which the expert will testify,

the bases for the opinion evidence and a curriculum vitae for any proposed expert

witness. Id. at ¶¶ 68-69. In its response the government indicated that the results and

reports of physical and mental examinations and of scientific tests and experiments

conducted in connection with this matter have been made available to defendants. Dkt.

#132, ¶ 4. Additionally, the government stated that it will comply with defendant’s

request for expert disclosures relating to those witnesses who will testify pursuant to

Federal Rules of Evidence 702, 703 and 705. Id. at ¶ 5. Accordingly, based on the

government’s representation that the requested items either have been made available

or will be provided to defendant, defendant’s request is DENIED as moot.



“Grand Jury”

               Defendant requests,

               [a]ll records of the formation of the grand juries to hear the
               charges herein, including documents relating to its
               impanelment and disbandment, attendance, the testimony
               heard by the grand jury, instructions to the grand jury, the
               portions of the grand jury minute book or similar record of
               the proceedings related to the original indictment, any report
               or records of the grand jury as to its vote or disposition of the




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              charges including any reports of a “no true bill” with respect
              to any of the accused herein.

Dkt. #114, ¶ 70. It is a long-established rule that “[t]he burden. . . is on the defense to

show that ‘a particularized need’ exists for the minutes [of the grand jury] which

outweighs the policy of secrecy.” Pittsburgh Plate Glass Co v. United States, 360 U.S.

395, 400 (1959). Here, the defendant has made no attempt to demonstrate the

requisite “particularized need.” The Court notes, as it has elsewhere in this Decision

and Order, that transcripts of grand jury testimony of witnesses called by the

government to testify at trial must be made available to the defendant pursuant to and

in accordance with Title 18, United States Code, Section 3500. It is further noted that:

              [A]n indictment valid on its face is not subject to challenge
              on the ground that the grand jury acted on the basis of
              inadequate or incompetent evidence.

United States v. Calandra, 414 U.S. 338, 345 (1974). Furthermore,

              An indictment returned by a legally constituted and unbiased
              grand jury, like an information drawn by the prosecutor, if
              valid on its face, is enough to call for trial of the charge on
              the merits. The Fifth Amendment requires nothing more.

Costello v. United States, 350 U.S. 359, 363 (1956).



              The Jury Selection and Service Act of 1968, Title 28, United States Code,

Section 1861 et seq., provides the exclusive method whereby a defendant may

challenge a court’s compliance with jury selection procedures. Title 28, United States

Code, Section 1867(a) provides for strict time limitations in connection with a challenge

to a petit and/or grand jury.



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             In criminal cases, before the voir dire examination begins or
             within seven days after the defendant discovered or could
             have discovered, by the exercise of diligence, the grounds
             therefor, whichever is earlier, the defendant may move to
             dismiss the indictment or stay the proceedings against him
             on the ground of substantial failure to comply with the
             provisions of this title in selecting the grand or petit jury.

Title 28, United States Code, Section 1867(a). A defendant must file his or her motion

alleging noncompliance with the Jury Selection and Service Act of 1968 within the

requisite seven day period or the objection to the jury composition is waived. United

States v. Ovalle, 136 F.3d 1092, 1107 (6th Cir. 1998); United States v. Webster, 639

F.2d 174, 480 (4th Cir.), cert. denied, 454 U.S. 857 (1981). Courts throughout the United

States have strictly enforced the seven-day limitation period and have held that where

the challenge is to a grand jury selection, the seven-day period begins to run from the

date of the indictment. United States v. Rodriguez, 588 F.2d 1003, 1009 (5th Cir. 1979);

United States v. Paradies, 98 F.3d 1266, 1277 (11th Cir. 1996), cert. denied, 521 U.S.

1106 (1997); United States v. Dean, 487 F.3d 840, 849 (11th Cir. 2007), cert. denied,

1285 S.Ct. 1444 (2008); United States v. Noah, 475 F.2d 688, 695 (9th Cir.), cert

denied, 414 U.S. 1095 (1973).



             Insofar as defendant’s request relates to the formation of the grand jury

and the selection procedures, the Court notes that defendant’s motion was filed seven

months after the original Indictment was returned (and four months after the

Superceding Indictment was returned). The filing of the instant motion was well beyond




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the seven day limitation period set forth in Title 28, United States Code, Section

1867(a).



              As recited in United States v. Yarborough, jury records in the Western

District of New York are a matter of public record. United States v. Yarborough, No. 06-

CR-190(A), 2007 WL 962926 (W.D.N.Y. Mar. 28, 2007). In Yarborough, the defendant

sought an order from the court permitting the disclosure of records pertaining to the

formation of the Grand Jury which considered his case. In dismissing defendant’s

request as moot, the Court stated, “[a] defendant has ‘essentially an unqualified right to

inspect jury lists’ in order to aid in the preparation of motions challenging the jury

selection procedures. These records may be obtained by Defendant, upon request,

from the Clerk’s Office without order of court (and could have been obtained prior to

filing Defendant’s motion)....” Yarborough, 2007 WL 962926, *14. Following the

reasoning set forth in Yarborough, that portion of defendant’s motion seeking the

disclosure of grand jury selection documents is DENIED as moot insofar as such

documents are available and have been available upon defendant’s request to the

Clerk’s Office.



              For the reasons set forth above, the balance of defendant’s request for

disclosure of the grand jury proceedings is DENIED.




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“Identification”

              The defendant seeks the production of any visual or audio identification

procedures utilized in this case. Dkt. #114, ¶¶ 71 and 86. Although the government’s

response to the defendant’s motion does not specifically address the defendant’s

request for identification procedures, the Court notes that a review of the affidavit of

Chautauqua County Sheriff’s Department Lieutenant John W. Runkle submitted in

support of the electronic eavesdropping warrant reveals that seven of the twelve

defendants charged in the Superceding Indictment, including Quentin Leeper, Kevin

Mims, Haushaun Leeper, Major Anthony Newton, Roger Allen Leeper, Koran Donell

Leeper, and Millicent Leeper, were already known to law enforcement and identified

through other investigative techniques as having some level of involvement in this drug

distribution enterprise. Notwithstanding the foregoing, the government is hereby

directed to provide the defendant with information concerning the visual or audio

identification procedures, if any, used in this case. Accordingly, defendant’s request for

the production of identification procedures is GRANTED.



“Law Enforcement Documents”

              The defendant is seeking the production of all investigative reports or

documents prepared by the United States government relating to the conduct charged

in the Superceding Indictment, relied upon by the Grand Jury or intended to be relied

upon at trial, including criminal history information relating to any defendant and




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potential witness. In addition, the defendant seeks the production of any documents

concerning any alleged offenses underlying the indictment. Dkt. #114, ¶ 72.



              In its response the government agrees to disclose the conviction records

of all witnesses it intends to call at trial, as well as the arrest records of each of the

defendants. Dkt. #132, ¶ 7. With respect to investigative reports, the government

indicates that such documents will be produced only insofar as disclosure is required

pursuant to the Jencks Act. Id. at ¶ 8. Based upon the government’s representations

that the conviction records of all defendants and witnesses will be provided and that

such further documents will provided consistent with the Jencks Act, defendant’s

request is DENIED as moot.



“Third Party Documents”

              By this request, the defendant seeks the production of documents

obtained from banks, financial institutions, utility companies, home services providers,

common carriers, telephone records, and records from employers. Dkt. #114, ¶¶ 73-

78. As a threshold matter, the Court notes that there is no constitutional right to

discovery in a criminal case. Weatherford v. Bursey, 429 U.S. 545, 559 (1977). In its

response, the government contends that it has provided all the materials in its

possession that are within the purview of Rule 16 and in compliance with Rule

12(b)(4)(B) and accordingly, the government believes that discovery is complete. Dkt.

#132, ¶ 4. Thus, based upon the government’s representation concerning its



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compliance with Rules 12(b)(4)(B) and 16, defendant’s request for “third party

documents” is DENIED as moot.



“Other Documents”

             Defendant’s request for “other documents” is essentially, a “catch-all”

request seeking “[a]ny other documents in the possession, custody or control or with

which by the exercise of due diligence could come within the control of the prosecution

that were prepared in connection with this case or are intended to be used in the trial of

any of the defendants.” Dkt. #114, ¶ 79. As noted above, there is no constitutional

right to discovery in a criminal case. Weatherford v. Bursey, 429 U.S. 545, 559 (1977).

Moreover, the government has represented to this Court that it has provided all the

materials in its possession that are within the purview of Rule 16 and in compliance with

Rule 12(b)(4)(B) and accordingly, the government believes that discovery is complete.

Dkt. #132, ¶ 4. Thus, based upon the government’s representation concerning its

compliance with Rules 12(b)(4)(B) and 16, defendant’s request for “other documents” is

DENIED as moot.



“Video/Audio Tapes”

             By this request, the defendant is seeking the production of all video or

audio tapes made in connection with the investigation. Dkt. #114, ¶ 81. As noted

above, in its response, the government has stated that all pertinent conversations and

transcripts thereof have been provided to defendants. Dkt. #132, ¶ 4. In addition,



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based upon the record before this Court, the Court is unaware of the existence of any

discoverable video recordings. For the foregoing reasons, defendant’s request for

video/audio tapes is DENIED as moot.



“DAT Tapes”

              This request seeks the production of any tapes created in digital audio

tape format. Dkt. #114, ¶¶ 82-83. As noted in footnote 4 of the government’s

response, “[a]s provided in discovery all wiretap conversations are in digital format and

contained on a DVD (not tapes) [sic] provided to all defendants.” Dkt. #132, p.15, n.4.

Accordingly, defendant’s request for DAT tapes is DENIED as moot.



“Photographs, Drawings”

              This request seeks the production of any photographs, charts, graphs,

maps or drawings related to the investigation and prosecution of this case. Dkt. #114,

¶¶ 84-85. The government states in its response that it has made available all tangible

objects obtained pursuant to the search warrants or otherwise and further, that it will

make available photographs material to the preparation of a defense or intended to be

used at trial. Dkt. #132, ¶ 6. Based on the government’s representation that all

photographs material to the defense or intended to be used at trial will be made

available, this request is DENIED as moot.




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“Identification”

              This request is duplicative of a prior request and the parties are referred to

that portion of this Court’s Decision and Order that addresses identification procedures.

See p.19, supra.



“Surveillance, Tapes, Photographs”

              Paragraphs 87 through 96 of defendant’s motion seek: notice if any

evidence was derived, directly or indirectly, from the use of electronic surveillance;

copies of all analog video or audio tapes; copies of all digital recordings; data collected

in the surveillance process; surveillance logs; video logs; progress reports,

amendments, extension applications, related amendment and extension orders and

minimization instructions; and all toll and caller identification records. In its response,

the government states that it has provided, pursuant to voluntary discovery and

requests made by the defendants, the following: the wiretap application, affidavit,

warrant, sealing order, search warrant and inventories and affidavits thereto,

preliminary laboratory reports, two DVDs containing all pertinent conversations and

transcripts. Dkt. #132, ¶ 4. In addition, the government attached to its response to the

instant motion copies of a May 9, 2008 letter to all counsel enclosing a CD (DVD)

containing intercepted conversations and draft transcripts and an April 4, 2008

memorandum outlining certain discovery items being provided. See Dkt. #132-2.

Accordingly, based on the government’s representation that all discoverable materials




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have been provided and that discovery is complete, defendant’s requests set forth in

paragraphs 87 through 94 of the instant motion are DENIED as moot.



“Physical Evidence”

             Defendant requests the production of all physical evidence collected or

seized in connection with this case, including copies of all property capable of being

photocopied or reproduced. Dkt. #114, ¶ 97. The government states in its response

that it has made available all tangible objects obtained pursuant to the search warrants

or otherwise and further, that it will make available photographs material to the

preparation of a defense or intended to be used at trial. Dkt. #132, ¶ 6. Based on the

government’s representation that all photographs material to the defense or intended to

be used at trial will be made available, this request is DENIED as moot.



“Favorable Information”

             Under the heading “Favorable Information,” the defendant seeks, inter

alia, what can be more specifically classified as Brady, Giglio and Jencks material.

Elsewhere in his motion, the defendant specifically seeks Brady, Giglio and early

disclosure of Jencks material and the Court has previously addressed those requests.

Also under this heading, the defendant seeks more generally, information that would be

material to the preparation of his defense. In addition, the defendant seeks the

production of information relating to specific instances of other crimes, wrongs and acts

under Federal Rules of Evidence 404(b), 608 and 609 which he may use as



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impeachment material. Counsel for the government has acknowledged his affirmative

duty to provide defendant with exculpatory evidence, as well as evidence that the

defendant might use to impeach the government’s witnesses. Moreover, counsel for

the government further acknowledges his continuing duty to produce such material

pursuant to Brady v. Maryland, 373 U.S. 83 (1963). With respect to the defendant’s

request for evidence of other crimes, wrongs and acts under Federal Rules of Evidence

404(b), 608 and 609, impeachment material, the government states that it will provide

such information “consistent with its disclosure of Jencks material.” Dkt. #132, ¶ 13.

Finally, as previously noted elsewhere in this Decision and Order, the government

contends that it has previously produced material in its possession which falls within the

purview of Rule 16 and in compliance with Rule 12(b)(4)(B). Dkt. #132, ¶ 4.

Accordingly, based on the representations made by counsel for the government, the

defendant’s request for “favorable information” is DENIED as moot.



“Impeaching Information”

               In his request entitled “impeaching information,” the defendant seeks

information which could be utilized for the impeachment of prosecution witnesses,

including, conviction records of trial witnesses and police personnel records or

information revealing prior misconduct on the part of any witness. In addition, by this

request the defendant seeks information concerning any favorable treatment a witness

may have received, prior testimony of any such witnesses and informant information.

Dkt. #114, ¶¶ 106-113. As noted above, the government has agreed to disclose the

conviction records at trial of all witnesses it intends to call to testify at trial. The

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government further stated that it will provide evidence of other crimes, wrongs and acts

under Federal Rules of Evidence 404(b), 608 and 609 which may be used as

impeachment material, “consistent with its disclosure of Jencks material.” Dkt. #132,

¶ 13.



             Moreover, in response to several other requests, counsel for the

government has acknowledged his affirmative duty to provide defendant with

exculpatory evidence, as well as evidence that the defendant might use to impeach the

government’s witnesses. Finally, in its response, the government states, “[t]he

government agrees to provide impeachment Brady material, i.e., promises of leniency

or immunity agreements with government’s witnesses, criminal records of prosecution

witnesses, immoral, various or criminal acts committed by witnesses, and prior

inconsistent statements no later than one week prior to the commencement of trial, at

which time the government will produce the Jencks Act material.” Dkt. #132, ¶ 16.

Based on the representations made by counsel for the government, with respect to its

obligations to produce impeachment material, Brady material and Jencks Act material,

the defendant’s request is DENIED as moot.



             In response to that portion of defendant’s request for “police personnel

records,” the government states,

             [t]he government is unaware of any instance of conduct
             located in the personnel files of any prospective government
             witness who is employed by the United States which
             would provide exculpatory or favorable information to the
             defendant as suggested by defendants Quentin J. Leeper or

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              Major Anthony Newton. The disclosure of such information,
              if it exists, is predicated upon a showing of materiality by the
              defendant as a pre-condition to its disclosure. Any
              ambiguities regarding disclosure should be resolved by the
              Court in camera.


Dkt. #132, ¶ 11 (emphasis added). The Court reminds counsel for the government that

Brady, Giglio and their progeny dictate that the government’s obligation to disclose

material favorable to the accused extends to information that impeaches the credibility

of the government’s witnesses regardless of the witnesses’ employer. In other words,

the language in the government’s response which purports to limit its obligation to only

those witnesses employed by the United States is incorrect. Accordingly, counsel for

the government is hereby directed to ensure that a proper request and review of the

personnel files of all law enforcement witnesses, regardless of their employer, is

conducted and that all properly discoverable information is disclosed to the defendant in

a timely fashion as provided by Brady, Giglio and their progeny.



“Alleged Prior Misconduct”

              By this request, the defendant is seeking the disclosure of evidence of

other crimes, wrongs or acts intended to be used against any defendant pursuant to

Federal Rule of Evidence 404(b) “or any other premise” and any alleged criminal or

immoral conduct on the part of any defendant intended to be used in the examination of

any defendant who may testify at trial. Dkt. #114, ¶¶ 114-115. In its response, the

government does notify the defendants of its intention to offer proof during its case-in-

chief of such crimes, wrongs and acts and that such proof is both relevant and


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admissible pursuant to Rule 404(b) of the Federal Rules of Evidence. In addition, the

government states that it will provide this information consistent with its disclosure of

Jencks material. Dkt. #132, ¶ 13. Based on the representations made by counsel for

the government, defendant’s request is DENIED as moot.



“Joinder”

              The defendant seeks to join in any and all motions made on behalf of the

co-defendants. Dkt. #114, ¶ 122. This request is GRANTED with the further directive

and finding that the decision made by this Court as to each of the co-defendant’s

requests contained in the motion in which this defendant joins shall also be deemed to

be the finding and Order of this Court as to the defendant herein.



“Motion for Leave to Make Further Motions”

              The defendant states, “[y]our deponent has made every attempt to

encompass within the above pleadings all requests for relief. However, it is entirely

possible that as the investigation continues or as a result of any relief granted from this

pleading or the governments [sic] response reveals the need to file additional motions

[sic].” Dkt. #114, ¶ 123. This request is GRANTED provided that any additional bases

for relief are based on facts or information learned by reason of the continuation of the

investigation or facts and circumstances revealed in the government’s response to the

instant motion or this Court’s Decision and Order.




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The Government’s Reciprocal Fed. R. Crim. P. 16(b) Request

              The government has requested that the defendant permit it to inspect and

copy various books, records, papers, documents, photographs and other tangible

objects, including reports of physical or mental examinations and of scientific tests or

experiments, within the possession or control of the defendant which the defendant

intends to introduce as evidence in chief at the trial along with written summaries of

expert witnesses' testimony that the defendant intends to use. Since the defendant has

moved pursuant to Rule 16(a)(1) of the Federal Rules of Criminal Procedure for similar

materials and information, the government is entitled to this information pursuant to

Rule 16(b)(1) and its request is GRANTED.



              Therefore, it is hereby ORDERED pursuant to 28 U.S.C. § 636(b)(1) that:



              This Decision and Order be filed with the Clerk of Court.



              ANY OBJECTIONS to this Decision and Order must be filed with the

Clerk of this Court within ten (10) days after receipt of a copy of this Decision and Order

in accordance with the above statute, Fed. R. Crim. P. 58(g)(2) and Local Rule 58.2.



              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Paterson-Leitch Co., Inc. v.



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 Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

 to file objections within the specified time or to request an extension of such time

 waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

 (1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).



              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules for

the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of Rule 58.2

(concerning objections to a Magistrate Judge's Decision and Order), may result in

the District Judge's refusal to consider the objection.



DATED:        Buffalo, New York
              September 2, 2009



                                          s/ H. Kenneth Schroeder, Jr.
                                          H. KENNETH SCHROEDER, JR.
                                          United States Magistrate Judge




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